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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

JANE DOE, )
)
Plaintiff )
)
Vs. ) NO.: 5:20-CV-00377-JDW
)
MORAVIAN COLLEGE, JOHN DOE 1, )
JOHN DOE 2, and JOHN DOE 3, )
) CIVIL ACTION

Individually and Jointly, )
)

Defendants ) JURY TRIAL DEMANDED

 

PLAINTIFI’S PRE-TRIAL MEMORANDUM
PURSUANT TO LOCAL RULE 16.1(c}

Plaintiff, Jane Doe, by and through her undersigned counsel, Adam
D. Meshkov, Esquire and John R. Vivian, Jr., Esquire, hereby provides the following Pre-Trial
Memorandum Pursuant to Local Rule 16.1(c) as follows:
L NATURE OF ACTION / BASIS OF JURISDICTION

This case stems from a sexual assault and rape by Defendants John Doe 1, John Doe 2
and John Doe 3 on Defendant, Moravian College’s Campus. Claims of Negligence, Intentional
Infliction of Emotional Distress (ITED) and of violations of Title IX have been brought against
Defendant Moravian and of IED and Assault and Battery against Defendant’s John Doe 1, John
Doe 2 and John Doe 3.
II. STATEMENT OF FACTS

On August 24, 2017, Plaintiff attended a party at the “football house,” a residence located
on the campus of Defendant, Moravian College and which is also owned by Moravian.

Following her arrival at “football house,” Plaintiff felt dizzy and sick and was provided with a
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sealed bottle of water which she consumed and which was later refilled by what she believed to
be water. While at the “football house,” Plaintiff was approached by John Doe 3 and John Doe 2
who walked her back to her dorm room. On the way to her dorm room, Plaintiff was informed by
John Doe 3 that John Doe 2’s dorm was on the way and that she should stop there to use the

bathroom, which she agreed to.

Upon arriving at John Doe 2's dormitory, the Austin-Spangenburg house, also located on
Moravian’s campus, the Individual Defendants coordinated an effort to force Plaintiff into John

Doe 2’s dorm room, at which point she was forcibly raped and videotaped. Jd. at 128-30.

Following the assault, one or more of the individual Defendants published a video they

had taken tn violation of Moravian’s established policies and Pennsylvania law.

In addition, the Individual Defendants exchanged text messages which included the

following:

“We took her virginity”; ““Y’all really violated that girl”; “She was calling us Daddy”;
“She was fingering herself, I never saw a girl do that”; “She was crying in the bathroom”;

“So, we may have a case”; and “Yeah, cuz Berto punched her”.

Plaintiff subsequently advised Moravian of her assault which undertook a Title [IX
investigation, which resulted in no discipline against any of the individual Defendants and,
adding insult to injury, in fact appeared to be designed to discourage Plaintiff from moving
forward with her complaint resulting in her experience of additional emotional distress and

disillusionment with Moravian from which she subsequently voluntarily withdrew.
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Ill. JTEMS OF MONETARY DAMAGES CLAIMED

Plaintiff seeks compensatory damages permitted under Title VII and under the
Pennsylvania Common law for her claims of negligence, IED and assault and battery.
TV. WITNESS INFORMATION

1) Plaintiff, Jane Doe
(Liability and Damages)

2) Plaintiff's father, George Sheriff
(Liability and Damages)

3) Defendant, Moravian College
(Liability)

4) Defendant, John Doe |
(Liability)

5) Defendant, John Doe 2
(Liability)

6) Defendant, John Doe 3
(Liability)

7) Detective Moses Miller
(Liability)

8) Linda Hoy
(Liability)

9) Donald Sabo
(Liability)

10) Emma Barrett
(Liability and Damages)

11) ~~ Detective Robert Toronzi
(Liability)

12) Detective Paul Iannace
(Liability)

13) Leah Naso
(Liability)
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John Doe 3 Deposition Transcript dated October 22, 2019 01223-01260

John Doe 3 Deposition Transcript dated July 25, 2022 w/ Exhibits 01261-01356

John Doe 3 Deposition Transcript dated August 19, 2022 w/ Exhibits 01357-01428

Moravian College No Contact Letters dated August 26, 2017 01429-01431

Bethlehem Police Department Records 01432-01512

10. Detective Moses Miller Deposition Transcript 01513-01578

11. Linda Hoy Deposition Transcript 01579-01632

12. Donald Sabo Deposition Transcript 01633-01685

13. Jane Doe Interview Corrections from Title IX Investigation 01686-01689

14. Moravian College Letters dated November 6, 2017 01690-01695

15. Moravian College Title [IX Report 01696-01741

16. Moravian College Letters dated November 10, 2017 01742-01744

17, Moravian Investigative Documents re: Basketball Game Incident February 8, 2018
01745-01751

18. Moravian College Failure to Comply -- Responsible Letter dated February 22, 2018
01752-01753

19. Moravian College Failure to Comply — Not Responsible Letter dated February 22, 2018
01754

20. Moravian College Map 01755

21. Moravian College Card History 01756-01760

22. Jane Doe Extraction Report 01761-02135

23. John Doe | Extraction Report 02136-02384

24. John Doe 2 Extraction Report 02385-02538

25. Emma Barrett Deposition Transcript 02559-02654

26. Detective Robert Toronzi Deposition Transcript and Exhibits 02655-03111

27, Detective Paul lannace Deposition Transcript 03112-03231

28. George Sheriff Deposition Transcript and Exhibits 03232-03417

29, Leah Naso Deposition Transcript 03418-03482

30. Moravian’s Investigation re No Contact 03483-03487

31. John Doe 3 Deposition Transcript dated October 1, 2019 03488-03495

32. John Doe 2’s Phone — Texts Extractions Lehigh Crime Unit 03520-03534

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VI. ESTIMATED NUMBER OF DAYS FOR TRIAL

2 weeks.

VIL. SPECIAL COMMENTS

None.

VIL ADDITIONAL INFORMATION REQUIRED PER PRE-TRIAL ORDER
A. STIPULATIONS GF COUNSEL

None.
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B. OBJECTIONS TO EVIDENCE
Plaintiff will be filing a Motion in Limine to exclude the video evidence of the sexual
encounter and relative to John Doe 3’s repeated assertions of the 5“ Amendment during

deposition testimony.

Attorneys for Plaintiff

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CERTIFICATE OF SERVICE

I, ADAM D. MESHKOV, ESQUIRE, certify that on the date listed below J caused a true
and correct copy of the foregoing Plaintiff’s Pre-Trial Memorandum to be served via email
notification of filing in downloadable format from the United States District Court for the

Eastern District of Pennsylvania ECF System upon the following:

Via ECF Notification only

Paul G. Lees, Esquire

Dickie, McCamey & Chilcote, P.C.
190 Brodhead Road, Suite 310
Bethlehem, PA 18017

Via ECF Notification only
Maraleen Shields, Esquire
Fitzpatrick, Lentz and Bubba, P.C.
Two Center City

645 West Hamilton Street, Suite 800
Allentown, PA 18101

Via ECF Notification only
Tyree Blair, Sr., Esquire

Spitale, Vargo, Madsen and Blair
680 Wolf Avenue

Easton, PA 18042

Via email (dharris323 7?@gmail.com)
and USPS First Class Mail

John Doe 3

3237 East Boulevard

Bethlehem, PA 18017

Date:November 8, 202? {sf Adam D. Meshkov
ADAM D. MESHKOV, ESQUIRE

 
